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'Q. AO 472 (Rev. 12/03) Order of Detention Pending Trial



                                        UNITED STATES DISTRICT COURT
                            Eastern                                District of                                   Michigan

         UNITED STATES OF AMERICA
                               v.                                                ORDER O F DETEN TION PENDING TRIAL
        MICHAEL CHARLES TRAYLOR, .IR.                                        Case Number: 09-20403
                            Defendant
    In accordance with the Bail Refonn Act, 18 U.S.c. § 3142(f), a detention hearing has been held. I conclude that the following facts require the
detention of the defendant pending trial in this case.
                                                             Part I-Findings of Fact
D    (1) The defendant is charged with an offense described in 18 U.S.c. § 3142(f)(1) and has been convicted ofa D federal offense             D state
         or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed - that is
         D a crime of violence as defined in 18 U.S.c. § 3156(a)(4).
         D an offense for which the maximum sentence is life imprisonment or death.
         D an offense for which a maximum tenn of imprisonment of ten years or more is prescribed in
                                                                                                                                                        *
          D a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18 U.S.c.
              § 3142(f)(1)(A)-(C), or comparable state or local offenses.
D (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local offense.
D    (3) A period of not more than five years has elapsed since the D date of conviction D release of the defendant from imprisonment
         for the offense described in fmding (1).
D    (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure the
         safety of (an) other person(s) and the community. I further fmd that the defendant has not rebutted this presumption.
                                                               Alternative Findings (A)
lit (1) There is probable cause to believe that the defendant has committed an offense
          ~ for which a maximum tenn of imprisonment of ten years or more is prescribed in _T_itl_e_2_1                                             _
          D under 18 U.S.c. § 924(c).
lit (2) The defendant has not rebutted the presumption established by fmding (1) that no condition or combination ofconditions will reasonably assure
         the appearance of the defendant as required and the safety of the community.
                                                               Alternative Findings (B)
D    (1) There is a serious risk that the defendant will not appear.
D    (2) There is a serious risk that the defendant will endanger the safety of another person or the community.




                                             Part II-Written Statement of Reasons for Detention
    I find that the credible testimony and infonnation submitted at the hearing establishes by      riI clear and convincing evidence D a prepon­
derance of the evidence that
there are no conditions or combination of conditions that will reasonably assure the appearance of the defendant and the safety of
the community as required considering the factors listed in 18 U.S.C. 3142(g) given the present 10 year mandatory minimum
sentence, defendant's prior convictions for a drug felony and an illegal possession of a firearm, defendant's relatively current
possession of firearms, as demonstrated by a video played in court, his use of a controlled substance, his lack of verifiable
employment and other reasons stated on the record at the hearing.

                                                    Part III-Directions Regarding Detention
     The defendant is committed to the custody ofthe Attorney General or his designated representative for confmement in a corrections facility separate,
to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be afforded a
reasonable opportunity for private consultation with defense counsel. On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver the defendant to the United States marshal for the purpose of an appearance
in connection with a court proceeding.
October .7. 2009                                     sIMi cbaeJ HJ ueban; 11k
                     Date                                                                   Signature ofJudge
                                                       Michael Hluchaniuk                                U.S. Magistrate Judge
                                                                                         Name and Title ofJudge
*Insert as applicable: (a) Controlled Substances Act (21 U.S.c. § 801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. § 951
et seq.); or (c) Section 1 of Act of Sept. 15,1980 (21 U.S.C. § 955a).
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                            CERTIFICATE OF SERVICE

       I certify that on October 7, 2009, I electronically filed the foregoing paper
with the Clerk of the Court using the ECF system which will send notification of
such filing to the following Shane Waller, AUSA and Amy Grace Gierhart, and I
certify that I have either hand delivered/ mailed by United States Postal Service the
paper to the following non-ECF participants: Pretrial Services Agency and U.S.
Marshal’s Service.

                                             s/James P. Peltier
                                             Courtroom Deputy Clerk
                                             U.S. District Court
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                                             Flint, MI 48502
                                             (810) 341-7850
                                             pete_peltier@mied.uscourts.gov
